                           4:21-cv-04142-SLD-JEH # 99    Page 1 of 2
                                                                                            E-FILED
                                                                 Tuesday, 26 April, 2022 08:41:16 AM
                                                                       Clerk, U.S. District Court, ILCD

 1                         UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
 2
     BRIAN MAGNUSON,                             Case No.: 4:21-cv-04142-SLD-JEH
 3
           Plaintiff,
 4                                               ORDER RE: UNOPPOSED
     vs.                                         MOTION TO EXTEND
 5
     EXELON CORPORATION, a Publicly
 6   Traded Company, and EXELON
     GENERATION COMPANY, LLC
 7      Defendants

 8            Having received and reviewed the unopposed motion to extend and for good

 9   cause shown, the Court modifies the scheduling order to the following:

10    Event                                  Current         Proposed amendment
                                             deadline
11    Deadline for expert disclosure         April 1, 2022   July 1, 2022

12    Counter-experts, if any                May 13, 2022 August 15, 2022

13    Rebuttal, if any                       June 10, 2022 Sept. 12, 2022

14    Expert discovery deadline              August 15,      Oct. 12, 2022
                                             2022
15    Case dispositive motions               July 15, 2022   August 15, 2022

16    Daubert motions                                        October 22, 2022

17
                     26thday of ______
     So Ordered this ___         April , 2022.
18
        s/ Jonathan E. Hawley
     _________________________________
19
     The Honorable Magistrate Judge Jonathan E. Hawley
20
     UNOPPOSED MOTION TO EXTEND - 1
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                          4:21-cv-04142-SLD-JEH # 99      Page 2 of 2




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                                      Submitted this 25th day of April 2022,
 3
                                      _s/Stephani L. Ayers
 4                                    Stephani L. Ayers
                                      Attorney for Brian Magnuson
 5

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16   Attorneys for Plaintiff

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     UNOPPOSED MOTION TO EXTEND - 2
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